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7

8                               UNITED STATES DISTRICT COURT

9                          NORTHERN DISTRICT OF CALIFORNIA

10

11   LISA MCCARTHY, MARY KATHERINE                       )    CASE NO.:
     ARCELL, KEITH DEAN BRADT, JOSE                      )
12   BRITO, JAN-MARIE BROWN, ROSEMARY                    )
                                                         )        COMPLAINT FOR
     D’AUGUSTA, BRENDA DAVIS, PAMELA                     )          PERMANENT
13   FAUST, CAROLYN FJORD, DONALD C.                     )      INJUNCTIONAND FOR
14   FREELAND, DONNA FRYE, GABRIEL                       )       DAMAGES AGAINST
     GARAVANIAN, HARRY GARAVANIAN,                       )    DEFENDANTS’ VIOLATIONS
15   YVONNE JOCELYN GARDNER, VALARIE                     )      OF §§ 1 AND 2 OF THE
     JOLLY, MICHAEL MALANEY, LENARD                      )    SHERMAN ANTITRUST ACT,
16   MARAZZO, TIMOTHY NIEBOER,                           )         15 U.S.C. §§ 1, 2
                                                         )
     DEBORAH PULFER, BILL RUBINSOHN,                     )
17   SONDRA RUSSELL, JUNE STANSBURY,                     )
18   CLYDE DUANE STENSRUD, GARY                          )      JURY TRIAL DEMANDED
     TALEWSKY, DIANA LYNN ULTICAN,                       )
19   PAMELA WARD, CHRISTINE M.                           )
     WHALEN,                                             )
20                                                       )
                  Plaintiffs,                            )
21                                                       )
           v.                                            )
22                                                       )
                                                         )
     INTERCONTINENTAL EXCHANGE, INC.,                    )
23   INTERCONTINENTAL EXCHANGE                           )
24   HOLDINGS, INC., ICE BENCHMARK                       )
     ADMINISTRATION LIMITED, ICE DATA                    )
25   SERVICES, INC., ICE PRICING AND                     )
     REFERENCE DATA LLC, BANK OF                         )
26                                                       )
     AMERICA, N.A., BANK OF AMERICA                      )
     CORPORATION, BARCLAYS BANK, PLC,                    )
27
     BARCLAYS CAPITAL, INC., CITIBANK,                   )
28   N.A., CITIGROUP, INC., CITIGROUP                    )
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                  Complaint Against Defendants’ Violations of §§ 1 and 2 of the Sherman Act
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1    GLOBAL MARKETS, INC.,                  )
     COÖPERATIEVE RABOBANK U.A.,            )
2    CREDIT SUISSE GROUP AG, CREDIT         )
                                            )
     SUISSE AG, CREDIT SUISSE SECURITIES    )
3    (USA) LLC, DEUTSCHE BANK AG,           )
4    DEUTSCHE BANK SECURITIES INC.,         )
     HSBC HOLDINGS PLC, HSBC BANK PLC,      )
5    HSBC BANK USA, N.A., HSBC              )
     SECURITIES (USA) INC., JPMORGAN        )
6    CHASE & CO., JPMORGAN CHASE BANK,      )
                                            )
     N.A., J.P. MORGAN SECURITIES LLC,      )
7    LLOYDS BANK PLC, LLOYDS                )
8    SECURITIES INC., MUFG BANK, LTD.,      )
     THE BANK OF TOKYO-MITSUBISHI UFJ       )
9    LTD., MITSUBISHI UFJ FINANCIAL         )
     GROUP INC., MUFG SECURITIES            )
10                                          )
     AMERICAS INC., ROYAL BANK OF           )
     SCOTLAND GROUP PLC, ROYAL BANK         )
11   OF SCOTLAND PLC, NATIONAL              )
12   WESTMINSTER BANK PLC, NATWEST          )
     MARKETS SECURITIES INC., ROYAL         )
13   BANK OF CANADA, RBC CAPITAL            )
     MARKETS, LLC, SUMITOMO MITSUI          )
14                                          )
     BANKING CORPORATION, SUMITOMO          )
     MITSUI FINANCIAL GROUP INC.,           )
15
     SUMITOMO MITSUI BANKING                )
16   CORPORATION EUROPE LTD., SMBC          )
     CAPITAL MARKETS, INC., THE             )
17   NORINCHUKIN BANK, UBS GROUP AG,        )
     UBS AG, AND UBS SECURITIES LLC,        )
18                                          )
                                            )
19                                          )
                 Defendants.                )
     ______________________________________ )
20

21          Plaintiffs Lisa McCarthy, et al., are borrowers and consumers of loans and credit cards
22   with variable interest rates, including those incorporating the USD LIBOR benchmark rate
23   fixed by Defendants’ unlawful agreement, combination, and/or conspiracy, in violation of §§ 1
24   and 2 of the Sherman Antitrust Act, 15 U.S.C. §§ 1, 2. Plaintiffs hereby seek injunctive relief
25   under § 16 of the Clayton Act, 15 U.S.C. § 26 to prohibit Defendants’ ongoing violations of
26   the antitrust laws and seek damages under § 4 of the Clayton Act, 15 U.S.C. § 15, caused by
27   reason of Defendants’ unlawful conduct. Plaintiffs complain and allege as follows:
28
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                    Complaint Against Defendants’ Violations of §§ 1 and 2 of the Sherman Act
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1                                            INTRODUCTION
2
             Since the mid-1980s and continued up to and including the filing of this Complaint,
3
     Defendants have been and are members of a price-fixing cartel designed to eliminate price
4
     competition between and among themselves and co-conspirators to fix the intra bank interest
5

6    rate used as the basis for loans to consumers, including, inter alia, mortgages, student loans,

7    credit cards, auto loans, lines of credit, contracts, and all varieties of financial instruments.

8            This price-fixed rate is commonly accepted as “the world’s most important number,”
9
     used by an estimated US $350 trillion ($350,000,000,000,000.00) of outstanding contracts in
10
     maturities ranging from overnight to more than 30 years.
11
             The formula to fix the rate agreed to by the Defendant banks and co-conspirators, and
12
     their Defendant agents charged with calculating the agreed price-fixed interest rate, is simple
13

14   in its arithmetic and devastating in its implementation: (1) the fifteen Defendant banks submit

15   their proposals of what the interest rate should be to the Defendant ICE US LIBOR; (2) the
16   Defendant ICE US LIBOR excludes the four highest and four lowest; and then (3) averages
17
     the remaining eight. The result of this agreed “trim average” is the agreed interest rate to be
18
     charged.
19
             The Defendant banks agreed to this “trim average” formula, the resultant rate, and
20

21   the implementation of it in their consumer loans. The consumers paid the fixed-price as the

22   base of their loans and/or are substantially threatened with injury or damage by reason

23   of the continued use of the price-fixed rate.
24           The price-fixed rate used by the Defendant banks and their co-conspirators as the base
25
     in their consumer loans is a per se violation of Sections 1 and 2 of the Sherman Antitrust Act.
26
     The consumer Plaintiffs are injured and damaged and/or substantially threatened with injury
27

28
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                     Complaint Against Defendants’ Violations of §§ 1 and 2 of the Sherman Act
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1    and damage, and are authorized to bring this suit pursuant to Sections 4 and 16 of the Clayton

2    Antitrust Act.
3            The price-fixing agreement between and among the Defendant banks and co-
4
     conspirators, and the continued use and enforcement of the price-fixing agreement, should and
5
     must be permanently enjoined. No consumer of any consumer loan based in whole or in part,
6
     or in any way infected or affected by the price-fixed interest rate, should be required to pay,
7

8    directly or indirectly, the price-fixed USD LIBOR interest rate.

9                 The Plaintiffs pray for, and respectfully demand the immediate entry of a permanent

10   injunction voiding the Defendant banks' price-fixing agreement and any enforcement of it,
11   directly or indirectly, and seek damages caused by reason of Defendants’ unlawful
12
     combination or conspiracy.
13
                                                  JURISDICTION
14
             1.        This action is brought under Sections 4 and 16 of the Clayton Antitrust Act, 15
15

16   U.S.C. §§ 15, 26, for damages and to prohibit Defendants’ ongoing violations of §§ 1 and 2 of

17   the Sherman Antitrust Act, 15 U.S.C. §§ 1, 2, caused by reason of Defendants unlawful

18   agreement to fix the USD LIBOR rate, and their unlawful conspiracy to monopolize by
19
     agreeing to set USD LIBOR. This Court has subject matter jurisdiction of the federal antitrust
20
     claims asserted in this action under Sections 4 and 16 of the Clayton Antitrust Act, 15 U.S.C.
21
     §§ 15, 26, and Title 28 United States Code Sections 1331 and 1337.
22
             2.        Defendants’ conspiracy and conduct was within the flow of, was intended to,
23

24   and did, in fact, have a substantial effect on the interstate commerce of the United States.

25   During the relevant time period, Defendants used the instrumentalities of interstate commerce,
26   including interstate wires, in furtherance of their illegal scheme. In addition, because
27
     Defendants transact business in this judicial district, venue is proper pursuant to 15 U.S.C.
28
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                        Complaint Against Defendants’ Violations of §§ 1 and 2 of the Sherman Act
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1    §§15, 22 and 26, and 28 U.S.C. § 1391.

2                                             THE PLAINTIFFS
3            3.      Each Plaintiff named herein below is an individual and a citizen of the state
4
     listed as the address for each such Plaintiff, and in the four years prior to the filing of this
5
     action, each Plaintiff was a borrower/consumer of a consumer loan or credit card with a
6
     variable interest rate:
7

8            Mary Katherine Arcell, New Orleans, LA

9            Keith Dean Bradt, Reno, NV

10           Jose Brito, Reno, NV

11           Jan-Marie Brown, Reno, NV
12           Rosemary D’Augusta, San Francisco, CA
13           Brenda Davis, Dallas, TX
14           Pamela Faust, Cincinnati, OH
15
             Carolyn Fjord, Sacramento, CA
16
             Donald C. Freeland, Cincinnati, OH
17
             Donna Frye, Colorado Springs, CO
18
             Gabriel Garavanian, Boston, MA
19
             Harry Garavanian, Boston, MA
20
             Yvonne Jocelyn Gardner, Colorado Springs, CO
21

22           Valarie Jolly, Dallas, TX

23           Michael Malaney, Grand Rapids, MI

24           Lenard Marazzo, Reno, NV

25           Lisa McCarthy, Naples, FL

26           Timothy Nieboer, Kalamazoo, MI
27           Deborah Pulfer, Sidney, OH
28
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1           Bill Rubinsohn, Philadelphia, PA

2           Sondra Russell, Waco, TX

3           June Stansbury, Reno, NV
4           Clyde Duane Stensrud, Seattle, WA
5           Gary Talewsky, Boston, MA
6
            Diana Lynn Ultican, Seattle, WA
7
            Pamela Ward, Holmes Beach, FL
8
            Christine M Whalen, New Orleans, LA
9
            4.      Because Plaintiffs are consumers of variable interest rate loans, they are
10
     threatened with harm and damage in that USD LIBOR is an unlawful rate regularly utilized as
11

12   a component of the pricing in variable interest rate consumer loans by the Defendants and

13   their co-conspirators. Further, Plaintiffs have been damaged and are threatened with damage

14   in that they have paid and will pay anticompetitive rates in the future for variable interest rate
15   loans, a component of which was unlawfully fixed by Defendants’ unlawful combination
16
     and/or conspiracy.
17
            5.      More specifically, numerous Plaintiffs, including Plaintiffs Lisa McCarthy,
18
     Jose Brito, Jan-Marie Brown, Brenda Davis, Gabriel Garavanian, Harry Garavanian, Bill
19
20   Rubinsohn, Sandy Russell, Gary Talewsky, are consumers of credit cards issued by unnamed

21   co-conspirator Capital One, which lists the 3-month and 1-month LIBOR rates in its

22   statements as possible components in disclosing variable interest rates to be charged to its
23
     customers.
24
            6.      Plaintiff Yvonne Jocelyn Gardner is a consumer of a variable interest rate
25
     mortgage from Defendant Bank of America.
26

27

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                     Complaint Against Defendants’ Violations of §§ 1 and 2 of the Sherman Act
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1                                           THE DEFENDANTS

2           7.      Defendant Intercontinental Exchange Inc. is a Delaware corporation with its
3    principal place of business at 5660 New Northside Drive, Atlanta, Georgia 30328, registered
4
     to do business in California.
5
            8.      Defendant Intercontinental Exchange Holdings, Inc. is a Delaware corporation
6
     with its principal place of business at 5660 New Northside Drive, Atlanta, Georgia 30328,
7

8    registered to do business in California.

9           9.      Defendant ICE Benchmark Administration Limited (f/k/a NYSE Euronext Rate

10   Administration Limited, hereinafter “IBA”) is a UK company with a registered address of
11   Milton Gate, 60 Chiswell Street, London, EC1Y 4SA, United Kingdom. NYSE Euronext Rate
12
     Administration Limited was renamed ICE Benchmark Administration Limited after
13
     Intercontinental Exchange, Inc.’s acquisition of NYSE Euronext in 2013. After the acquisition,
14
     four of NYSE Euronext’s directors joined ICE’s 14-member board, and the resulting company
15

16   is dual-headquartered in Atlanta and New York.

17          10.     Defendant ICE Data Services, Inc. (“ICE Data Services”) is a Delaware

18   corporation registered to do business in California, with a principal place of business located
19
     at 100 Church Street, 11th Floor, New York, New York 10007. ICE Data Services owns and
20
     operates the ICE Report Center, which houses USD ICE LIBOR data and with which
21
     registration is required to access certain USD ICE LIBOR rate and submission data from ICE.
22
            11.     Defendant ICE Pricing and Reference Data LLC (“ICE Pricing and Reference
23

24   Data”) is a Delaware company registered to do business in California with a principal place of

25   business located at 5660 New Northside Drive, Atlanta, Georgia 30328.
26          12.     The ICE entities (hereinafter, the ICE entities shall be collectively referred to as
27
     “ICE”, when not referenced individually) and its other unnamed subsidiaries and affiliates
28
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                     Complaint Against Defendants’ Violations of §§ 1 and 2 of the Sherman Act
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1    share a unity of corporate interest and operate as a single enterprise in furtherance of the

2    combination and conspiracy alleged herein.
3              13.   Each Bank Defendant named below is one of the Panel Banks contributing rate
4
     data to ICE for calculation of the USD LIBOR benchmark rate.
5
               14.   Defendant Bank of America, N.A. is a national banking association, and
6
     Defendant Bank of America Corporation, a Delaware corporation (collectively, “Bank of
7

8    America”). Both entities headquarters are located at 100 North Tryon Street, Charlotte, North

9    Carolina 28202 and are registered to do business in California. Bank of America and its other

10   unnamed subsidiaries and affiliates share a unity of corporate interest and operate as a single
11   enterprise in furtherance of the combination and conspiracy alleged herein.
12
               15.   Defendant Barclays Bank, plc, is a U.K. public limited company with its
13
     principal place of business at 1 Churchill Place, London E14 5H, United Kingdom, and
14
     operates a New York branch at 745 Seventh Avenue, New York, New York 10019, and
15

16   Defendant Barclays Capital Inc. is a Connecticut corporation with its principal place of

17   business at 745 Seventh Avenue, New York, New York 10019 (collectively, “Barclays”).

18   Barclays and its other unnamed subsidiaries and affiliates share a unity of corporate interest
19
     and operate as a single enterprise in furtherance of the combination and conspiracy alleged
20
     herein.
21
               16.   Defendant Citibank, N.A. is a federally chartered national banking Association,
22
     and Defendant Citigroup Inc. is a Delaware corporation. Both entities are headquartered at 399
23

24   Park Avenue, New York, New York 10022. Defendant Citigroup Global Markets Inc. is a

25   Delaware corporation headquartered at 390-388 Greenwich Street, New York, New York
26   10013 and registered to do business in California (hereinafter, the Citibank/Citigroup entities
27
     shall be referred to collectively as “Citibank” if not referred to individually). Citibank and its
28
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1    other unnamed subsidiaries and affiliates share a unity of corporate interest and operate as a

2    single enterprise in furtherance of the combination and conspiracy alleged herein.
3           17.     Defendant Coöperatieve Rabobank U.A. (“Rabobank”) is a bank organized
4
     under the laws of Netherlands with its principal place of business at Croeselaan 18, 3521 CB
5
     Utrecht, Netherlands, and operates a New York branch at 245 Park Avenue, 37th Floor, New
6
     York, New York 10167. Rabobank and its other unnamed subsidiaries and affiliates share a
7

8    unity of corporate interest and operate as a single enterprise in furtherance of the combination

9    and conspiracy alleged herein.

10          18.     Defendant Credit Suisse Group AG is a Swiss aktiengesellschaft (“AG”) with
11   its principal place of business at 8 Paradeplatz, 8001 Zurich, Switzerland. Defendant Credit
12
     Suisse AG is a Swiss AG with its principal place of business at Ueltibergstrasse 231, 8070
13
     Zurich, Switzerland. Credit Suisse AG is registered to do business in California and it
14
     operates a New York branch located at Eleven Madison Avenue, 24th Floor, New York, New
15

16   York 10010. Defendant Credit Suisse Securities (USA) LLC is a Delaware limited liability

17   company. It is registered to do business in California, with its principal place of business at

18   Eleven Madison Avenue, 24th Floor, New York, New York 10010 (hereinafter, the Credit
19
     Suisse entities will be referred to collectively as “Credit Suisse”). Credit Suisse and its other
20
     unnamed subsidiaries and affiliates share a unity of corporate interest and operate as a single
21
     enterprise in furtherance of the combination and conspiracy alleged herein.
22
            19.     Defendant Deutsche Bank AG is a German aktiengesellschaft with its principal
23

24   place of business at Taunusanlage 12, Frankfurt, 60325, Germany. Defendant Deutsche Bank

25   AG is registered to do business in California, and it operates a San Francisco branch at 101
26   California Street, San Francisco, CA          94111. Defendant Deutsche Bank Securities Inc.
27
     (“DBSI”) is a Delaware corporation registered to do business in California, with its principal
28
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                     Complaint Against Defendants’ Violations of §§ 1 and 2 of the Sherman Act
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1    place of business at 60 Wall Street, 4th Floor, New York, New York 10005 (hereinafter, the

2    Deutsche Bank entities shall be referred to collectively as “Deutsche Bank” when not
3    referenced individually). Deutsche Bank and its other unnamed subsidiaries and affiliates
4
     share a unity of corporate interest and operate as a single enterprise in furtherance of the
5
     combination and conspiracy alleged herein.
6
            20.    Defendant HSBC Holdings plc is a British public limited company with its
7

8    principal place of business at 8 Canada Square, London, E14 5HQ, United Kingdom.

9    Defendant HSBC Bank plc is a British public limited company with its principal place of

10   business at 8 Canada Square, London, E14 5HQ, United Kingdom. Defendant HSBC Bank
11   USA, N.A. is a national banking association headquartered at HSBC Tower, 452 Fifth
12
     Avenue, New York, New York 10018 and registered to do business in California. Defendant
13
     HSBC Securities (USA) Inc. is a Delaware corporation registered to do business in California,
14
     with its principal place of business at HSBC Tower, 452 Fifth Avenue, New York, New York
15

16   10018 (hereinafter, the HSBC entities shall be referred to collectively as “HSBC” if not

17   referenced individually). HSBC and its other unnamed subsidiaries and affiliates share a unity

18   of corporate interest and operate as a single enterprise in furtherance of the combination and
19
     conspiracy alleged herein.
20
            21.    Defendant JPMorgan Chase & Co. is a Delaware corporation with its principal
21
     place of business at 270 Park Avenue, New York, New York 10017. Defendant JPMorgan
22
     Chase Bank, N.A. is a federally-chartered national banking association registered to do
23

24   business in California, headquartered at 270 Park Avenue, New York, New York 10017.

25   Defendant J.P. Morgan Securities LLC is a Delaware limited liability company registered to
26   do business in California, with its principal place of business at 277 Park Avenue, New York,
27
     New York 11072 (hereinafter, the JPMorgan Chase entities shall be referred to collectively as
28
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1    “JP Morgan” if not referenced individually). JP Morgan and its other unnamed subsidiaries

2    and affiliates share a unity of corporate interest and operate as a single enterprise in
3    furtherance of the combination and conspiracy alleged herein.
4
            22.     Defendant Lloyds Bank plc is a British public limited company with registered
5
     offices at 25 Gresham Street, London EC2V 7HN, United Kingdom, and it operates a New
6
     York branch at 1095 Sixth Avenue, New York, New York 10036. Defendant Lloyds
7

8    Securities Inc. is a Delaware corporation headquartered at 1095 Sixth Avenue, New York,

9    New York 10036 (hereinafter, the Lloyds entities shall be referred to collectively as “Lloyds”

10   if not referenced individually). Lloyds and its other unnamed subsidiaries and affiliates share
11   a unity of corporate interest and operate as a single enterprise in furtherance of the
12
     combination and conspiracy alleged herein.
13
            23.     Defendant MUFG Bank, Ltd. is a bank organized under the law of Japan with
14
     its principal place of business at 7-1, Marunouchi 2-chome Chiyoda-ku, Tokyo 100-8388,
15

16   Japan. MUFG Bank, LTD is registered to do business in California and operates a New York

17   branch at 1251 Sixth Avenue, New York, New York 10020 and a San Francisco Branch at 350

18   California Street, 1st Floor, San Francisco, CA 94104. Defendant The Bank of Tokyo-
19
     Mitsubishi UFJ Ltd. is a bank organized under the laws of Japan with its principal place of
20
     business at 7-1, Marunouchi 2-chome Chiyoda-ku, Tokyo 100-8388, Japan and which
21
     operates a New York branch at 1251 Sixth Avenue, New York, New York 10020. Defendant
22
     Mitsubishi UFJ Financial Group Inc. is a Japanese corporation with its principal place of
23

24   business at 7-1, Marunouchi 2-chome Chiyoda-ku, Tokyo 100-8388, Japan. Defendant MUFG

25   Securities Americas Inc. is a Delaware corporation registered to do business in California,
26   with its principal place of business at 1221 Avenue of the Americas, 6th Floor, New York,
27
     New York 10020 (hereinafter, all four MUFG entities shall be referred to collectively as
28
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                    Complaint Against Defendants’ Violations of §§ 1 and 2 of the Sherman Act
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1    “MUFG” if not referenced individually). MUFG and its other unnamed subsidiaries and

2    affiliates share a unity of corporate interest and operate as a single enterprise in furtherance of
3    the combination and conspiracy alleged herein.
4
            24.     Defendant Royal Bank of Scotland Group plc is a United Kingdom public
5
     limited company with its principal place of business at 1000 Gogarburn, Edinburgh, EH12
6
     1HQ, Scotland. Defendant Royal Bank of Scotland plc is a United Kingdom public limited
7

8    company with its principal place of business located at 36 St. Andrew Square, Edinburgh,

9    EH2 2YB, Scotland, and it operates a Connecticut branch located at 600 Washington

10   Boulevard, Stamford, Connecticut 06901. Defendant National Westminster Bank plc is a U.K.
11   public limited company with its principal place of business at 135 Bishopsgate, London,
12
     EC2M 3UR, United Kingdom. Natwest is a member of the USD LIBOR Panel. Defendant
13
     Natwest Markets Securities Inc. (f/k/a RBS Securities Inc.) is a Delaware corporation
14
     registered to do business in California, with its principal place of business at 600 Washington
15

16   Boulevard, Stamford, Connecticut 06901 (hereinafter the Royal Bank of Scotland and

17   National Westminster entities shall be referred to collectively as “Royal Bank of Scotland” or

18   “RBS” when not referenced individually). RBS and its other unnamed subsidiaries and
19
     affiliates share a unity of corporate interest and operate as a single enterprise in furtherance of
20
     the combination and conspiracy alleged herein.
21
            25.     Defendant Royal Bank of Canada is a chartered Schedule I Bank under the
22
     Canada Bank Act with its principal place of business at 200 Bay Street, Toronto, Ontario M5J
23

24   2J5, Canada, and it operates a New York branch at Three World Financial Center, 200 Vesey

25   Street, 8th Floor, New York, New York 10281. Defendant RBC Capital Markets, LLC is a
26   Minnesota limited liability company registered to do business in California, with its principal
27
     place of business and headquarters located at Three World Financial Center, 200 Vesey Street,
28
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1    8th Floor, New York, New York 10281 (hereinafter, the Royal Bank of Canada entities shall

2    be referred to collectively as “Royal Bank of Canada” or “RBC” when not referenced
3    individually). RBC and its other unnamed subsidiaries and affiliates share a unity of corporate
4
     interest and operate as a single enterprise in furtherance of the combination and conspiracy
5
     alleged herein.
6
            26.        Defendant Sumitomo Mitsui Banking Corporation is a bank organized under
7

8    the laws of Japan with its principal place of business at 1-1-2, Marunouchi, Chiyoda-ku,

9    Tokyo, Japan. Defendant Sumitomo Mitsui Banking Corporation is registered to do business

10   in California, and it operates a San Francisco branch at 555 California Street, Suite 3350, San
11   Francisco, CA 94104, and a New York branch at 277 Park Avenue, New York, New York
12
     10172. Defendant Sumitomo Mitsui Financial Group Inc. is a Japanese corporation organized
13
     under the laws of Japan with its principal place of business at 1-1-2, Marunouchi, Chiyoda-ku,
14
     Tokyo, Japan. Defendant Sumitomo Mitsui Banking Corporation Europe Ltd. is a U.K. public
15

16   limited company with its principal place of business at Temple Court, 11 Queen Victoria

17   Street, London, EC4N 4TA, United Kingdom. SMBC Capital Markets, Inc. is a Delaware

18   corporation registered to do business in California, with its principal place of business at 277
19
     Park Avenue, New York, New York 10172 (hereinafter the Sumitomo entities shall be
20
     referred to collectively as “Sumitomo” if not referenced individually). Sumitomo and its other
21
     unnamed subsidiaries and affiliates share a unity of corporate interest and operate as a single
22
     enterprise in furtherance of the combination and conspiracy alleged herein.
23

24          27.        Defendant The Norinchukin Bank (“Norinchukin”) is a Japanese bank

25   organized and operated under the laws of Japan with its principal place of business at 1-12,
26   Uchikanda 1-chome, Chiyoda-ku, Tokyo 101-0047, Japan, and it operates a New York branch
27
     located at 245 Park Avenue, Floor 21, New York, New York 10167. Norinchukin and its
28
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1    other unnamed subsidiaries and affiliates share a unity of corporate interest and operate as a

2    single enterprise in furtherance of the combination and conspiracy alleged herein.
3           28.      Defendant UBS Group AG is a Swiss AG with principal places of business at
4
     45 Bahnhofstrasse, Zurich CH-8098, Switzerland and 1 Aeschenvorstadt, Basel CH-4051,
5
     Switzerland. Defendant UBS AG is a Swiss AG with principal places of business at 45
6
     Bahnhofstrasse, Zurich CH-8098, Switzerland and 1 Aeschenvorstadt, Basel CH-4051,
7

8    Switzerland and it operates a Connecticut Branch at 677 Washington Boulevard, Stamford,

9    Connecticut 06901. Defendant UBS Securities LLC is a Delaware limited liability company

10   registered to do business in California, with its principal place of business at 1285 Avenue of
11   the Americas, New York, New York 10019 (hereinafter, the UBS entities shall be referred to
12
     collectively as “UBS” if not referenced individually). UBS and its other unnamed subsidiaries
13
     and affiliates share a unity of corporate interest and operate as a single enterprise in
14
     furtherance of the combination and conspiracy alleged herein.
15

16          29.      Various persons, partnerships, firms, and corporations not named as

17   Defendants in this lawsuit, and individuals, the identities of which are presently unknown,

18   have participated as co-conspirators with Defendants in the offense alleged in this Complaint,
19
     and have performed acts and made statements in furtherance of the illegal combination and
20
     conspiracy. The unreasonable restraint of trade in this case is the hub-and-spoke price fixing
21
     agreement between and among ICE, the Defendant Contributor Panel Banks, and virtually
22
     every other bank in the United States using LIBOR as a component of interest charged in its
23

24   variable interest rate consumer loans and credit. By perpetuating this arrangement, the banks

25   collectively have ceded power and authority to ICE and the Defendant banks to set,
26   implement, and enforce a horizontal price-fixing restraint in which they are knowing
27
     participants.
28
                                                      - 14 -
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1                                      FACTUAL BACKGROUND

2    BBA LIBOR
3           30.     British Bankers' Association (“BBA”) is the leading trade association for the
4
     financial-services sector in the United Kingdom.1
5
            31.     When BBA administered LIBOR, it was a private association that was operated
6
     without regulatory or government oversight and was governed by senior executives from its
7

8    member banks.

9           32.     The BBA began setting LIBOR on January 1, 1986, using separate panels for

10   different currencies. The U.S. Dollar (“USD”) LIBOR panel was composed of as many as 16-
11   18 member banks of the BBA.
12
            33.     Under the BBA LIBOR regime, the daily USD LIBOR was set by surveying
13
     the 16 panel bank members. Each panel bank member was asked, “At what rate could you
14
     borrow funds, were you to do so by asking for and then accepting inter-bank offers in a
15

16   reasonable market size just prior to 11 a.m.?” Each bank was to respond on the basis of (in

17   part) its own research, and its own credit and liquidity risk profile. Thomson Reuters later

18   compiled these submissions and published them on behalf of the BBA. The final LIBOR was
19
     the mean of the eight submissions left after excluding the four highest submissions and the
20
     four lowest.2 The daily submission of each bank was to remain confidential until after LIBOR
21
     was finally computed and published; and all 16 individual submissions were to be published
22
     along with the final daily rate and would thus be “transparent on an ex post basis.”3
23

24          34.     Between 2007 and 2012, investigations revealed that the panel member banks

25   had intentionally manipulated and conspired to fix LIBOR. A number of panel member banks
26
     1
       Gelboim, 823 F.3d at 765.
27   2
       Gelboim, 823 F.3d at 765-766.
     3
28     Gelboim, 823 F.3d at 766.
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1    paid substantial fines for their participation in the conspiracy, including UBS, Barclays, RBS,

2    Rabobank, Deutsche Bank, and JPMorgan Chase, among others.
3           35.     On September 25, 2012, it was announced publicly that the BBA was preparing
4
     to hand over administration of LIBOR to UK regulators.4
5
     DEFENDANTS’ UNLAWFUL COMBINATION AND CONSPIRACY TO FIX PRICES
6     ON USD LIBOR-BASED VARIABLE-INTEREST RATE CONSUMER LOANS AND
                CREDIT CARDS AND CONSPIRACY TO MONOPOLIZE
7
            36.     On     February     1,    2014,    the    Intercontinental      Exchange     Benchmark
8

9    Administration Limited (“IBA”) took over managing LIBOR, changing it to the ICE LIBOR.

10          37.     LIBOR is calculated and published by IBA on London business days for 5
11   currencies with 7 maturities quoted for each - ranging from overnight to 12 months, producing
12
     35 rates, at 11:55 am London time on each applicable London business day.5
13
            38.     Each LIBOR calculation is currently based on input data contributed by a panel
14
     of between 11 and 16 Contributor Banks for each of the five LIBOR currencies. Each
15

16   Contributor Bank contributes input data for all seven LIBOR tenors in every currency in

17   respect of which it is on a panel.6

18          39.     According to the IBA, its LIBOR Oversight Committee considers the following
19   criterion for eligibility on the Contributor Bank Panels: (1) transactional activity overall; (2)
20
     expertise in wholesale markets; (3) bank size; (4) credit quality; (5) reputational standing; (6)
21
     types and mix of transactional activity and bank sources of funding; and (7) geographical
22
     reach of banks.7
23

24          40.     The following table shows the current panel composition for USD LIBOR:

25
     4
       https://www.wsj.com/articles/SB10000872396390444180004578018371243449916
26   5
       https://www.theice.com/publicdocs/ICE_LIBOR_Roadmap0316.pdf, at p. 5.
     6
       https://www.theice.com/iba/libor and
27
     https://www.theice.com/publicdocs/ICE_LIBOR_Roadmap0316.pdf, at p. 5.
     7
28     https://www.theice.com/publicdocs/Policy_Composition_ICE_LIBOR_Panels.pdf
                                                - 16 -
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              41.     Defendants Bank of America, Barclays, Citibank, Rabobank, Credit Suisse,
14
     Deutsche Bank, HSBC, JPMorgan Chase, Lloyds Bank, MUFG Bank, NatWest/Royal Bank
15
     of Scotland, Royal Bank of Canada, Sumitomo, Norinchukin, and UBS are IBA Contributor
16

17   Banks for the USD LIBOR panel.

18            42.     LIBOR is calculated by the IBA based on submissions from the Contributor

19   Banks through the use of a “Waterfall Methodology” which includes the following levels: (1)
20   “Transaction-Based” Data, with a greater weighting of transactions booked closer to 11:00
21
     a.m. London time; (2) “Transaction-Derived” Data, including time-weighted historical eligible
22
     transactions adjusted for market movements and linear interpolation; and (3) “Expert
23
     Judgment,” market and transaction data based “expert judgment,” using the bank’s own
24

25   internally approved procedure.8

26

27
     8
28       https://www.theice.com/iba/libor
                                                       - 17 -
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1             43.    IBA calculates LIBOR using a trimmed arithmetic mean. Once all submissions

2    are received from the Contributor Banks, they are ranked in descending order and then the
3    highest and lowest quartiles of submissions are excluded to remove outliers from the final
4
     calculation. A mean is calculated from the remaining middle quartiles, rounded to five decimal
5
     places. Each Contributor Bank's submission carries an equal weight in the calculation, subject
6
     to the trimming.9
7

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              44.    LIBOR is jointly set by the Defendants. Defendants and their co-conspirator
20
     banks in the United States agree to use and do use USD LIBOR as a component of the interest
21
     charged in variable interest rate loans and credit cards in the United States. Variable rate
22

23   interest consumer loans and credit tied to USD LIBOR include variable rate mortgages, lines

24   of credit, credit card debt, student loans, and other forms of consumer debt.

25

26

27
     9
28       https://www.theice.com/publicdocs/ICE_LIBOR_Roadmap0316.pdf, at p. 16.
                                                - 18 -
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              45.    A reasonable estimate of the competitive price is the lowest rate submitted by
13
     the Contributor Banks, which is excluded by virtue of Defendants’ unlawful combination or
14
     conspiracy.
15

16            46.    Each USD LIBOR Contributor bank agrees to adhere to the LIBOR Code of

17   Conduct established by IBA.

18            47.    The LIBOR Code of Conduct established by the IBA, “sets out the framework
19
     within which LIBOR Contributor Banks are expected to operate.”10
20
              48.    Under the LIBOR Code of Conduct, each Contributor Bank’s “submitters and
21
     their direct managers must acknowledge in writing that they have read the [LIBOR] code of
22
     conduct and that they will comply with it.”11
23

24

25

26   10
          https://www.theice.com/publicdocs/LIBOR_Code_of_Conduct_Issue_7_Current.pdf, at p.
     3.
27   11
       https://www.theice.com/publicdocs/LIBOR_Code_of_Conduct_Issue_7_Current.pdf, at p.
28   31.
                                             - 19 -
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1             49.    Under the LIBOR Code of Conduct, a “Contributor Bank is required to

2    formulate its LIBOR Submissions in accordance with the methodology requirements
3    published by IBA at: https://www.theice.com/publicdocs/ICE_LIBOR_Methodology.pdf.”12
4
              50.    Under the LIBOR Code of Conduct, each Contributor Bank is required to make
5
     “Submissions….between 11.05 and 11.39.59 on each London business day. Submissions
6
     received at or after 11.40 will be regarded as late. If a bank makes frequent late Submissions,
7

8    the matter will be reported to the LIBOR Oversight Committee…”13

9             51.    Under the LIBOR Code of Conduct, each Contributor Bank is required to

10   maintain “written policies and procedures designed to ensure that this LIBOR Code is
11   implemented and systematically applied within the Contributor Bank…”14
12
              52.    Under the LIBOR Code of Conduct, each Contributor Bank must “ensure that
13
     appropriate records are kept of its business and internal organisation, which must be available
14
     to IBA on request, to the extent permitted by applicable law, in order to monitor the bank’s
15

16   compliance with the requirements under [the] LIBOR Code [of Conduct].”15

17            53.    By agreeing to comply and adhere to the terms set forth in the LIBOR Code of

18   Conduct, the Contributor Banks agree to fix USD LIBOR.
19
              54.    Further, the LIBOR Code of Conduct is overseen and enforced by the IBA’s
20
     “LIBOR Oversight Committee,” which has “broad market representation, being comprised of
21
     Contributor Banks, benchmark users, market infrastructure providers, independent non-
22
     executive directors of IBA, and other relevant experts. Representatives from the Board of
23

24   12
          https://www.theice.com/publicdocs/LIBOR_Code_of_Conduct_Issue_7_Current.pdf, at p.
25   8.
     13
        https://www.theice.com/publicdocs/LIBOR_Code_of_Conduct_Issue_7_Current.pdf, at p. 9
26   14
        https://www.theice.com/publicdocs/LIBOR_Code_of_Conduct_Issue_7_Current.pdf, at p.
     14.
27   15
        https://www.theice.com/publicdocs/LIBOR_Code_of_Conduct_Issue_7_Current.pdf, at p.
28   28.
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1    Governors of the Federal Reserve System, the Swiss National Bank and the Bank of England

2    also sit on the committee as observers.”16
3              55.     The LIBOR Oversight Committee, which is composed of some Defendants and
4
     other unnamed co-conspirators, is responsible for, “Reviewing the methodology, scope and
5
     definition of the benchmark (including assessing its underlying market and usage); Overseeing
6
     any changes to the benchmark; and Overseeing and reviewing the LIBOR Code of
7

8    Conduct.”17

9              56.     The members of the LIBOR Oversight Committee as of December 2019 are as

10   follows:18
11        First Name    Surname           Company                                Committee Position
12

13

14        Paula         Madoff            ICE Benchmark Administration           Chairwoman
                                          (Independent Non-Executive
15                                        Director)

          Timothy J     Bowler            ICE Benchmark Administration           Ex Officio
16
                                          (President)
17        David         Bowman            Federal Reserve System                 Observer
                                          (Associate Director - Division of
18                                        International Finance)
          Steve         Bullock           Lloyds Bank                            Contributor of Input Data
19                                        (Head of Benchmark                     representative
                                          Submission and Supervision)
20
          David         Clark             EVIA                                   Association representative
21                                        (Chairman)

22        Clare         Dawson            LMA                                    Association representative
                                          (Chief Executive)
23

24

25
     16
          https://www.theice.com/iba/libor
26   17
          https://www.theice.com/iba/libor
     18
27
     https://www.theice.com/publicdocs/LIBOR_Oversight_Committee_Disclosures_of_Conflicts
28   _of_Interest.pdf
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1         Galina        Dimitrova         The Investment Association             Association representative
                                          (Director, Investments and Capital
                                          Markets)
2
          Angus         Graham            UBS                                    Contributor of Input Data
3                                         (Group Finance)                        representative
4         John          Grout             Independent                            Independent Expert

5         George        Handjinicolaou    Piraeus Bank (Chairman)                Financial Intermediary
                                                                                 representative
6         Matthias      Jüttner           Swiss National Bank (Assistant         Observer
                                          Director - Money Market)
7         Candice       Koederitz         ICE Benchmark Administration           Independent Non-Executive
                                          (Independent Non-Executive             Director
8                                         Director)

9         Will          Parry             Bank of England                    Observer
                                          (Senior Manager - Sterling Markets
10                                        Division)

          David         Peniket           ICE Futures US (Director)              Market Infrastructure Provider
11                                                                               representative
          Rob           Thurlow           Mizuho Corporate Bank (Head of         Contributor of Input Data
12                                        ALM / Benchmark Manager)               representative
13        Kathleen      Yoh               Independent                            Independent Expert

14

15               57.   In 2018-2019, the IBA conducted two surveys to determine and agree upon

16   which LIBOR settings would be produced after 2021.19

17               58.   The IBA plans on “[u]sing the results of this survey and other outreach
18
     work…[to] work with globally active banks to seek to publish certain LIBOR settings after
19
     year-end 2021.”20
20
                 59.   The survey explains that, “The primary goal of IBA’s work in seeking to obtain
21
     sufficient banking industry support to publish certain LIBOR settings after year-end 2021 is to
22

23

24

25

26   19
          https://www.tactweb.org/media/2019/01/2019.05.02-LIBOR-Working-Group.pdf, at p. 3.
     20
27
     https://www.theice.com/publicdocs/Results_of_the_IBA_Survey_on_the_use_of_LIBOR.pdf,
28   at p. 2.
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1    provide these settings to users with outstanding LIBOR-linked contracts that are impossible or

2    impractical to modify.”21
3           60.       The first survey of its existing global Panel Banks sought “to identify the
4
     LIBOR settings that are critical to the global financial system.” The results of that survey
5
     were never made public.22
6
            61.       The second survey of LIBOR end-users sought to determine which LIBOR
7

8    settings were most commonly used.23

9           62.       The results of the survey were published in March 2019 and included feedback

10   from 109 Respondents. According to the minutes of a LIBOR Trade Association Working
11   Party Meeting held in May 2019, the overwhelming majority of survey respondents focused
12
     on lending activities when asked to set out the main uses of currency and tenor pairs that they
13
     used the most.
14
            63.       According to the minutes of a LIBOR Trade Association Working Party
15

16   Meeting held in May 2019, the IBA is now focusing on engaging with panel and potential

17   panel banks to seek their commitment to providing continued submissions in respect of those

18   tenor and currency pairs after 2021.24
19
            64.       In response to the question, “IBA would like to understand which LIBOR
20
     currency and tenor pairs you and/or your organisation use the most and for which you would
21
     like to see IBA work to seek an agreement with globally active banks to support publication
22
     after 2021,” the top three currency/tenor pairs selected by the second survey’s respondents
23

24
     21
25
     https://www.theice.com/publicdocs/Results_of_the_IBA_Survey_on_the_use_of_LIBOR.pdf,
26   at p. 2
     22
        https://www.tactweb.org/media/2019/01/2019.05.02-LIBOR-Working-Group.pdf, at p. 3.
27   23
        https://www.tactweb.org/media/2019/01/2019.05.02-LIBOR-Working-Group.pdf, at p. 3.
     24
28      https://www.tactweb.org/media/2019/01/2019.05.02-LIBOR-Working-Group.pdf, at p. 3-4.
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1    were as follows: (1) USD LIBOR 3 Month; (2) USD LIBOR 1 Month; and (3) the USD

2    LIBOR 6 Month.25
3           65.       In response to the question, “IBA would like to understand which LIBOR
4
     currency and tenor pairs you and/or your organisation use the most and for which you would
5
     like to see IBA work to seek an agreement with globally active banks to support publication
6
     after 2021,” out of 109 responses, the number of respondents selecting the USD
7

8    currency/tenor pairs are as follows26:

9                 •   Over 90 respondents selected the 3-month USD LIBOR currency/tenor pair.

10                •   Over 75 respondents selected the 1-month USD LIBOR currency/tenor pair.
11
                  •   Over 65 respondents selected the 6-month USD LIBOR currency/tenor pair.
12
                  •   Over 35 respondents selected the 12-month USD LIBOR currency/tenor pair.
13
                  •   Over 35 respondents selected the overnight USD LIBOR currency/tenor pair.
14

15                •   30 respondents selected the 1-week USD LIBOR currency/tenor pair.

16                •   Over 25 respondents selected the 2-month USD LIBOR currency/tenor pair.
17          66.       In response to the survey question, “Please set out the main uses of the
18
     currency and tenor pairs you use the most,” the following number of co-conspirator banks and
19
     other institutions surveyed responded that they mainly use the following USD LIBOR
20
     currency/tenor pairs for, “Retail products (e.g. consumer loans, credit cards, mortgages,
21

22   investment products):

23

24
     25
25
     https://www.theice.com/publicdocs/Results_of_the_IBA_Survey_on_the_use_of_LIBOR.pdf,
26   at p. 5.
     26
27
     https://www.theice.com/publicdocs/Results_of_the_IBA_Survey_on_the_use_of_LIBOR.pdf,
28   at p. 10.
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1    1 Month USD LIBOR                                    1

2    3-Month USD LIBOR                                    2
3
     6-Month USD LIBOR                                    2
4
     12-Month USD LIBOR                                   4
5

6             67.    The IBA survey therefore illustrates the agreement, combination and
7    conspiracy, between and among Defendants and its unnamed co-conspirators to use and
8
     continue to use the USD LIBOR as a component of the price in variable interest rate consumer
9
     loans.
10
                                        VIOLATIONS ALLEGED
11

12                                Sherman Act, Section 1, 15 U.S.C. § 1

13            68.    Plaintiffs incorporate by reference the preceding allegations.

14            69.    Defendants and their unnamed co-conspirators entered into and engaged in a
15
     conspiracy in unreasonable restraint of trade in violation of Section 1 of the Sherman Act.
16
              70.    Defendants’ unlawful combination or conspiracy is an unlawful agreement to
17
     fix prices and is a per se violation of the antitrust laws.
18
              71.    During the preceding four years, Defendants set and controlled LIBOR and
19
20   therefore controlled the interest rates of consumer loans and credit cards tied LIBOR offered

21   and sold by them and their co-conspirators.
22            72.    The conspiracy consisted of a continuing agreement, understanding or concerted
23
     action between and among Defendants and their co-conspirators in furtherance of which
24
     Defendants fixed LIBOR and thus the prices and interest rates on consumer loans and credit cards
25
     with rates tied to LIBOR offered, sold, and serviced by Defendants and their co-conspirators.
26
     Defendants’ conspiracy is a per se violation of the federal antitrust laws and is, in any event, an
27
     unreasonable and unlawful restraint of trade and commerce.
28
                                                      - 25 -
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1            73.     Defendants’ conspiracy, and the resulting impact on the market for LIBOR-based

2    consumer loans and credit cards occurred in or affected interstate and foreign commerce.

3            74.     As a proximate result of Defendants’ unlawful conduct, Plaintiffs have suffered
4    injury to their business or property.
5
             75.     Plaintiffs have been injured and will continue to be injured in their business and
6
     property as a result of Defendants’ conduct, by way of paying anticompetitive prices for variable
7
     rate interest consumer loans and credit cards. See 15 U.S.C. § 15.
8
             76.     The Plaintiffs are each entitled to preliminary and permanent injunctive relief
9
     under Section 16 of the Clayton Antitrust Act, 15 U.S.C. § 26, for Defendants’ violations of the
10

11   Sherman Act alleged herein, and to recover their cost of suit, including a reasonable attorney’s fee.

12                 Sherman Act, Section 2, 15 U.S.C. § 2 – Conspiracy to Monopolize

13           77.     Plaintiffs incorporate by reference the preceding allegations.
14           78.     Defendants and their unnamed co-conspirators entered into and engaged in a
15
     conspiracy to monopolize in violation of Section 2 of the Sherman Act.
16
             79.     During the preceding four years, Defendants set and controlled LIBOR and
17
     therefore controlled the interest rates of consumer loans and credit cards tied LIBOR offered
18

19   and sold by them and their co-conspirators.

20           80.     Defendants have the specific intent to achieve monopoly power in the relevant

21   market, as alleged in the paragraphs above.
22
             81.     In furtherance of the conspiracy, Defendants have committed several
23
     overt acts as set out herein.
24
             82.     Defendants’ conspiracy, and the resulting impact on the market for LIBOR-based
25
     consumer loans and credit cards occurred in or affected interstate and foreign commerce.
26
             83.     As a proximate result of Defendants’ unlawful conduct, Plaintiffs have suffered
27

28   injury to their business or property.
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1           84.     Plaintiffs have been injured and will continue to be injured in their business and

2    property as a result of Defendants’ conduct, by way of paying anticompetitive prices for variable

3    rate interest consumer loans and credit cards. See 15 U.S.C. § 15.
4           85.     The Plaintiffs are each entitled to preliminary and permanent injunctive relief
5
     under Section 16 of the Clayton Antitrust Act, 15 U.S.C. § 26, for Defendants’ violations of the
6
     Sherman Act alleged herein, and to recover their cost of suit, including a reasonable attorney’s fee.
7
                                          PRAYER FOR RELIEF
8
            WHEREFORE, Plaintiffs demand the following relief from this Honorable Court:
9

10          A.      Declaring, finding, adjudging, and decreeing that the unlawful conduct alleged

11   herein be adjudged and decreed to be an unlawful restraint of trade in violation of Section 1 of the

12   Sherman Act and Section 16 of the Clayton Act;

13          B.      Declaring, finding, adjudging, and decreeing that the unlawful conduct alleged
14
     herein be adjudged and decreed to be an unlawful restraint of trade in violation of Section 2 of the
15
     Sherman Act and Section 16 of the Clayton Act;
16
            C.      That Defendants, their subsidiaries, affiliates, successors, transferees, assignees
17
     and the respective officers, directors, partners, agents, and employees and all other persons acting
18
     or claiming to act on their behalf, be prohibited from continuing and maintaining the conspiracy
19
20   alleged in the Complaint;

21          D.      Declaring, finding, adjudging, and decreeing that any agreement that includes

22   USD LIBOR as a component of the variable interest rate charged is illegal and void under the
23
     antitrust laws of the United States;
24
            E.      Prohibit the Defendants from enforcing any agreement for USD LIBOR-based
25
     variable interest rate consumer loans or credit cards, in whole or in part;
26
            F.      Prohibit the Defendants from combining and conspiring to agree upon another
27

28   so-called benchmark rate to replace LIBOR.
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1           G.      Awarding to Plaintiffs treble damages under Section 4 of the Clayton Antitrust

2    Act, 15 U.S.C. §§ 15, 26.
3           H.      Awarding to Plaintiffs costs of suit, including a reasonable attorney’s fee as
4
     provided by Sections 4 and 16 of the Clayton Antitrust Act, 15 U.S.C. §§ 15, 26.
5
            I.      Granting to Plaintiffs such other and further relief to which they may be
6
     entitled and which the Court finds to be just and appropriate.
7

8                                      JURY TRIAL DEMANDED

9           Plaintiffs Lisa McCarthy, et al., demand a trial by jury as their right under the Seventh

10   Amendment to the Constitution of the United States or as given by statute. Fed. R. Civ. P. 38.
11

12
     Dated: August 18, 2020                           ALIOTO LAW FIRM
13

14
                                              By:     /s/ Joseph M. Alioto
15
                                                      Joseph M. Alioto (SBN 42680)
16                                                    Jamie L. Miller (SBN 271452)
                                                      Angelina Alioto-Grace (SBN 206899)
17                                                    ALIOTO LAW FIRM
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